 

Case 3:16-cV-03495-D Document 2 Filed 12/23/16 Page 1 of 2 Page|D 27

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS, TEXAS

GEORGE AN|BOWE|
Plaintiff

V_ 3:16-cv-03495
Civil Action No.

LORETTA LYNCH, ET AL
Defendant

CERTIFICATE OF INTERESTED PERSONS
(This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.l(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,

GEORGE AN|BOWE|

 

provides the following information:

For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns lO% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, aftiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:

*Please separate names with a comma. Only text visible within box will print.

GEORGE AN|BOWE|

UN|TED STATES GOVERNMENT

 

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Date: 12-23-2016
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NOTE: To electronically tile this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other
Documents/Certiflcate of Interested Persons

